Case 1:21-cv-00858-APM Document 1-1 Filed 03/30/21 Page 1 of 4

JS-44 (Rev. 11/2020 DC)

CIVIL COVER SHEET

I. (a) PLAINTIFFS

James Blassingame and Sidney Hemby

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF Montgomery
(EXCEPT IN U.S, PLAINTIFF CASES)

DEFENDANTS
Donald J. Trump

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT Palm Beach
(IN U.S. PLAINTIFF CASES ONLY)

NOTE INLAND CONDEMNATION CASES. USE THE LOCATION OF THE TRACT OF LAND INVOLVED

202-742-1500

(c) ATTORNEYS (FIRMNAME, ADDRESS, AND TELEPHONE NUMBER)

Patrick A. Malone, Esq.
Patrick Malone & Associates, P.C.
1310 L Street, NW, Suite 800, Washington, DC 20005

ATTORNEYS (IF KNOWN)

© 1 U.S. Government
Plainuff

O 2 U.S. Govemment
Defendant

II. BASIS OF JURISDICTION
(PLACE AN x IN ONE BOX ONLY)

O 3 Federal Question
(U.S. Goverment Not a Party)

4 Diversity
(Indicate Citizenship of
Parties in item III)

Ciuzen of this State

Citizen of Another State @>

Citizen or Subject ofa
Foreign Country

IH. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN «x IN ONE BOX FOR
PLAINTIFF ANDONE BOX FOR DEFENDANT) FOR DIVERSITY CASESONLY!

PTF

OQ!

DFI

O1

cc ated or al Place
Incorporated or Pnncipal Place

PTF

0;

DFT

of Business in This State

@ 2 Incorporated and Pnncipal Place oO 5

of Business in Another State

O3 O3

Foreign Nation

Os Oe

IV, CASE ASSIGNMENT AND NATURE OF SUIT

(Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)

© A. Antitrust

Cc] 410 Antitrust

® B. Personal Injury/
Malpractice

[_] 310 Airplane

CJ] 315 Airplane Product Liability

[_] 320 Assault, Libel & Slander

LC] 330 Federal Employers Liability

Cc) 340 Marine

[_] 345 Marine Product Liability

[_] 350 Motor Vehicle

CO 355 Motor Vehicle Product Liability
360 Other Personal Injury
362 Medical Malpractice

[_] 365 Product Liability

Cc) 367 Health Care/Pharmaceutical

Personal Injury Product Liability
Cc] 368 Asbestos Product Liability

O C. Administrative Agency
Review

(__] 151 Medicare Act

[_] 861 HIA (1395ff)

[_] 862 Black Lung (923)

[_] 863 piwc/DIWW (405(2))

[_] 864 SSID Title XVI

[_] 865 RSI (405(2))

Other Statutes

CI 891 Agricultural Acts

[_] 893 Environmental Matters

[-] 890 Other Statutory Actions (If
Administrative Agency is
Involved)

© D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit fromany category

may be selected for this category of

Case assignment

*(f Antitrust, then A governs)*

OE. General Civil (Other)

OR

© F. Pro Se General Civil

Real Property
CJ 220 Foreclosure

C] 240 Torts to Land

Personal Property
(]370 Other Fraud

Damage

(] 210 Land Condemnation
Cc] 230 Rent, Lease & Ejectment

(] 245 Tort Product Liability
[_] 290 All Other Real Property

(_]371 Truth in Lending
CJ 380 Other Personal Property

Cj 385 Property Damage
Product Liability

Bankruptcy
[J 422 Appeal 27 USC 158

Prisoner Petitions
535 Death Penalty
340 Mandamus & Other
$50 Civil Rights

CL] 555 Prison Conditions

of Confinement

Property Rights
CJ 820 Copyrights

Cc) 830 Patent

Drug Application
C_] 840 Trademark

2016(DTSA)

C-] 423 Withdrawal 28 USC 157

[J 560 Civil Detainee — Conditions

CJ 835 Patent — Abbreviated New

Cc) 880 Defend Trade Secrets Act of

Federal Tax Suits

[__] 870 Taxes (US plaintiffor
defendant)

Cc] 871 IRS-Third Party 26 USC
7609

Forfeiture/Penalty
(__] 625 Drug Related Seizure of
Property 21 USC 881

[_] 690 Other

Other Statutes

[_] 375 False Claims Act

[J 376 Qui Tam (31 USC
3729(a))

CJ 400 State Reapportionment

[J 430 Banks & Banking

[J 450 Commerce/ICC Rates/etc

[_] 460 Deportation

[_] 462 Naturalization
Application

Cc] 465 Other Immigration Actions

Cc] 470 Racketeer Influenced
& Corrupt Organization

CJ 480 Consumer Credit

C] 485 Telephone Consumer
Protection Act (TCPA)

(] 490 Cable/Satellite TV

(_] 850 Securities/Commodities/
Exchange

CJ 896 Arbitration

[_] 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

[_] 950 Constitutionality of State
Statutes

(_) 890 Other Statutory Actions
(if not administrative agency
review or Privacy Act)

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© G. Habeas Corpus/
2255

C] 530 Habeas Corpus — General

C_] 510 Motion/Vacate Sentence

[_] 463 Habeas Corpus — Alien
Detainee

O H. Employment
Discrimination

(_] 442 Civil Rights — Employment
(criteria: race, gender/sex,
national origin,
discrimination, disability, age,
religion, retaliation)

*(If pro se, select this deck)*

© |. FOIA/Privacy Act

Cc) 895 Freedom of Information Act
(_] 890 Other Statutory Actions
(if Privacy Act)

*(If pro se, select this deck)*

© J. Student Loan

CI 152 Recovery of Defaulted
Student Loan
(excluding veterans)

© K. Labor/ERISA
(non-employment)

(]710 Fair Labor Standards Act
Cc] 720 Labor/Mgmt. Relations
(_] 740 Labor Railway Act
(__] 751 Family and Medical

Leave Act
[-_]790 Other Labor Litigation
LC] 791 Empl. Ret. Inc. Security Act

© L. Other Civil Rights
(non-employment)

CJ441 Voting (if not Voting Rights
Act)

[__]443 Housing/Accommodations

C_]440 Other Civil Rights

Cc] 445 Americans w/Disabilities —
Employment

Cc] 446 Americans w/Disabilities —
Other

(_]448 Education

O M. Contract

Eq 110 Insurance

(] 120 Marine

[_] 130 Miller Act

140 Negotiable Instrument

CC) 150 Recovery of Overpayment
& Enforcement of
Judgment

Cc 153 Recovery of Overpayment
of Veteran's Benefits

(__] 160 Stockholder's Suits

Cc] 190 Other Contracts

(] 195 Contract Product Liability

CJ 196 Franchise

O N. Three-Judge
Court

CJ 441 Civil Rights — Voting
(if Voting Rights Act)

V. ORIGIN

I Original
Proceeding

oO 2 Removed
from State
Court

oO 3 Remanded
from Appellate
Court

© 4 Reinstated
or Reopened

oO 5 Transferred
from another
district (specify)

© 6 Multi-district © 7 Appeal to
Litigation District Judge
from Mag.

O 8 Multi-district
Litigation —
Direct File

Judge

VI. CAUSE OF ACTION “2 THE > Uf CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)

——: 2

CHECKIF THIS IS ACLASS DEMANDS
ACTION UNDER F.R.CP. 23 JURY DEMAND:

VII. REQUESTED IN
COMPLAINT

Check YES only if demanded in complaint
ves SZ] Nol_]

(See instruction)

VIII. RELATED CASE(S)
IF ANY

If yes, please complete related case form

ves LX ] No |_|

DATE: March 30, 2021 SIGNATURE OF ATTORNEY OF RECORD ©_

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papersas required
by law, exceptas provided by local rules ofcoun, This form.approved by the Judicial Conference of the United States in September 1974. is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently,a civil cover sheet is submitted to the Clerk of Court foreach civil complaint filed
Listed below are tips for completing the civil coversheet. These tips coincide with the Roman Numerals onthe cover sheet

I COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiffis outside the United States

I. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Junsdiction
under Section I|

Iv. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend onthe category you select that best
Tepresents the pnmary cause of action found in yourcomplaint. You may select only onecategory. You mustalso select one corresponding
nature of suit found under the category of the case

Vi. CAUSE OF ACTION: Cite the U.S, Civil Statute under which youare filing and write a bnef statement of the pnmary cause

VIII. RELATED CASE(S), |

the Clerk's Office,

F ANY: Ifyou indicated that there is a related case, youmust complete a related case form, which may be obtained from

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
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CLERK-S OFFICE CO-932
UNITED STATES DISTRICT COURT Rev. 4/96
FOR THE DISTRICT OF COLUMBIA

NOTICE OF DESIGNATION OF RELATED CIVIL CASES PENDING
IN THIS OR ANY OTHER UNITED STATES COURT

Civil Action No.
(To be supplied by the Clerk)

NOTICE TO PARTIES:

Pursuant to Rule 40.5(b)(2), you are required to prepare and submit this form at the time of filing any civil action which is
related to any pending cases or which involves the same parties and relates to the same subject matter of any dismissed related cases.
This form must be prepared in sufficient quantity to provide one copy for the Clerk:s records, one copy for the Judge to whom the
cases is assigned and one copy for each defendant, so that you must prepare 3 copies for a one defendant case, 4 copies for a two
defendant case, etc.

NOTICE TO DEFENDANT:

Rule 40.5(b)(2) of this Court requires that you serve upon the plaintiff and file with your first responsive pleading or motion
any objection you have to the related case designation.

NOTICE TO ALL COUNSEL

Rule 40.5(b)(3) of this Court requires that as soon as an attorney for a party becomes aware of the existence of a related case
or cases, such attorney shall immediately notify, in writing, the Judges on whose calendars the cases appear and shall serve such notice
on counsel for all other parties.

The plaintiff , defendant or counsel must complete the following:

I. RELATIONSHIP OF NEW CASE TO PENDING RELATED CASE(S).

A new case is deemed related to a case pending in this or another U.S. Court if the new case: [Check appropriate box(e=s)
below. ]

[| (a) relates to common property

(b) involves common issues of fact
(c) grows out of the same event or transaction

[] (d) involves the validity or infringement of the same patent

[| (e) is filed by the same pro se litigant

2. RELATIONSHIP OF NEW CASE TO DISMISSED RELATED CASE(ES)

A new case is deemed related to a case dismissed, with or without prejudice, in this or any other U.S. Court, if the new case
involves the same parties and same subject matter.

Check box if new case is related to a dismissed case: [|

4. NAME THE UNITED STATES COURT IN WHICH THE RELATED CASE IS FILED (IF OTHER THAN THIS
COURT):
4. CAPTION AND CASE NUMBER OF RELATED CASE(E%S). IF MORE ROOM IS NEED PLEASE USE OTHER SIDE.
Representative Eric Swalwell y, Donald J. Trump, ef al. C.A. No, 1:21-cv-00586
March 30, 2021 ae get

DATE Signature 6fP nN
Case 1:21-cv-00858-APM Document 1-1 Filed 03/30/21 Page 4 of 4

NOTICE OF DESIGNATION OF RELATED CIVIL CASES PENDING
IN THIS OR ANY OTHER UNITED STATES COURT

continuation #4

Hon. Bennie G. Thompson, in his personal capacity v. Donald J. Trump, solely in his
personal capacity, et al. Case No. 1:21-cv-00400

